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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Clarksburg

IN RE: Monitronics International, Inc. Telephone Consumer Protection Act
Litigation, 1 :13-MD-2493.

MATTHEW BARGER,

                      Plaintiff,

        -     v.                                        CIVIL ACTION NO. 1:16-CV-1O5
                                                        Judge Bailey

ALLIANCE SECURITY, INC.,

                      Defendants.

                                   ORDER DISMISSING CASE

       On July 25, 2019, this Court entered an Order directing counsel for the plaintiffs to

advise this Court within fourteen (14) days whether the plaintiffs wish to proceed in this

matter or whether this case may be dismissed without prejudice. [Doc. 478]. To date,

plaintiffs have not filed anything further in this case. Accordingly, this case is hereby

DISMISSED WITHOUT PREJUDICE. The Clerk is directed to STRIKE this matter from

the active docket of this Court.

       It is so ORDERED.

       DATED: February 22o21.


                                                        LbflO
                                                    HN PRESTON BAILEY
                                                 UNITED STATES DISTRICT JUDGE




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